               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                              )
TDCE CONSORTIUM,                              )
                                              )
      Petitioner,                             )
                                              )
      v.                                      )       Case No. 22-1216
                                              )
U.S. ENVIRONMENTAL                            )
PROTECTION AGENCY,                            )
                                              )
      Respondent.                             )
                                              )

               JOINT MOTION TO EXTEND DEADLINES FOR
                  ALL INITIAL FILINGS BY SIX MONTHS

      Petitioner TDCE Consortium and Respondent U.S. Environmental Protection

Agency (EPA) hereby move the Court for an order extending by six (6) months all

deadlines for initial filings reflected in the Court’s Order of October 13, 2023. In

further support of this motion, the parties state that:

      1.     The parties have agreed based on ongoing negotiations to the requested

extension so that they may better determine what procedural motions, dispositive

motions, and other initial filings may be appropriate prior to the initial filing

deadlines.

      2.     Should the Court grant this motion, the new deadline for the initial

filings and procedural motions due April 22, 2024, will be October 22, 2024, and the
new deadline for all the initial filings and dispositive motions due May 6, 2024, will

be November 6, 2024.

      WHEREFORE, the parties jointly request that the Court issue an order

extending the initial filing deadlines reflected in the Court’s Order of October 13,

2023, by six (6) months.

                                       Respectfully submitted,




Dated: April 9, 2024

/s/ Laura J. Brown                            /s/ Kelly N. Garson
Laura J. Brown                                Kelly N. Garson
U.S. Department of Justice                    Lynn L. Bergeson
Environment & Natural Resources               BERGESON & CAMPBELL, P.C.
Division                                      2200 Pennsylvania Ave., N.W.
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Counsel for Respondent EPA                    Counsel for Petitioner TDCE
                                              Consortium




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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 9, 2024, I electronically filed the foregoing Joint

Motion To Extend Deadlines For All Initial Filings By Six Months by using the Case

Management/Electronic Case File (CM/ECF) system, which will electronically

serve all counsel of record.


Dated: April 9, 2024                    /s/ Kelly N. Garson
                                        Kelly N. Garson
                                        Counsel for Petitioner TDCE Consortium




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        CERTIFICATE OF COMPLIANCE TYPE-VOLUME LIMIT,
     TYPEFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

Counsel hereby certifies that:

1.     This document complies with the word limit of Federal Rule of Appellate

       Procedure 27(d)(2)(A) because, excluding the parts of the document

       exempted by Federal Rule of Appellate Procedure 32(f), this document

       contains 171 words.

2.     This document complies with the typeface requirements of Federal Rule of

       Appellate Procedure 32(a)(5) and type-style requirements of Federal Rule of

       Appellate Procedure 32(a)(6) because this document has been prepared in a

       proportionally spaced typeface using Microsoft Word 2016 using 14-point

       Times New Roman font.


Dated: April 9, 2024                  /s/ Kelly N. Garson
                                      Kelly N. Garson
                                      Counsel for Petitioner TDCE Consortium




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